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                                    United States District Court
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                                                            for the

                                                Eastern District of Virginia
                                                                                                 f                 1 0 2018
                                                                                                    CLERK. U.S. DISTRICT COURT
                                                                                                       ALEXANDRIA. VIRGINIA
                  United States of America                    )
                             V.

                                                                      Case No.
                      SHANE LUCAS
                                                                                 1:18-m]-390

                                                                       UNDER SEAL


                        Defendant(s)


                                             CRIMINAL COMPLAINT

        I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of               December 2017                in the county of           Spotsylvania             in the

     Eastern          District of         Virginia        ,the defendant(s) violated:

           Code Section                                                  Offense Description
18USC§ 922{g){1)                             Possession of a Firearm After a Felony Conviction.




        This criminal complaint is based on these facts:

See attached affidavit.




        □ Continued on the attached sheet.




                                                                                         Complainant's signature
 SAUSA Speare Hodges/AUSA Michael Ben'Aiy
                                                                               Jose J. Oquendo, Special Agent, ATF
                                                                                          Printed name and title


Sworn to before me and signed in my presence.


Date:       August 10, 2018

                                                                               Am                        Isl
City and state:                      Alexandria, VA
                                                                                                Ivan D. Davis
                                                                                   United States Magistrate Judge
